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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY



                                                            Master File No. 17-8373 (RBK/AMD)

   In re NA VIENT CORPORATION                               [PROPOSED] ORDER GRANTING
   SECURITIES LITIGATION                                    PLAINTIFF'S MOTION FOR
                                                            ATTORNEYS'FEESAND
                                                            REIMBURSEMENT OF
                                                            EXPENSES



         Having read and considered the papers filed and arguments made by counsel,
   and good cause appearing, IT IS HEREBY ORDERED AS FOLLOWS:
         1.     The Court hereby awards Lead Counsel fees for the class action
   settlement in the amount of $2,500,000 to be paid pursuant to the terms of the
   Stipulation of Settlement.
         2.     The Court further hereby awards Lead Counsel expenses in the amount
   of $988,508.88 to be paid pursuant to the terms of the Stipulation of Settlement.
         3.     The Court further hereby awards Lead Plaintiff Jesse Wayne Pritchard
   $15,000.


          IT IS SO ORDERED.
          DATED: ~              1
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                                                         THE HONORABLE ROBERT B. KUGLER
                                                         UNITED SATES DISCTRICT COURT
